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                                               Certificate Number: 03088-PAE-CC-034551520


                                                              03088-PAE-CC-034551520




                    CERTIFICATE OF COUNSELING

I CERTIFY that on June 11, 2020, at 1:13 o'clock PM CDT, Marisol Ruiz Giraldo
received from Debt Education and Certification Foundation, an agency approved
pursuant to 11 U.S.C. 111 to provide credit counseling in the Eastern District of
Pennsylvania, an individual [or group] briefing that complied with the provisions
of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   June 11, 2020                          By:      /s/Susan D. Gann


                                               Name: Susan D. Gann


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
